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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


IN RE UBIQUITI NETWORKS, INC.               No. 1:18-cv-01620 (VM)
SECURITIES LITIGATION
                                            Class Action
THIS DOCUMENT RELATES TO: ALL CASES




                       LEAD PLAINTIFF’S MOTION
                 TO DISTRIBUTE THE SETTLEMENT FUND
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       Pursuant to the Final Judgment Approving Class Action Settlement and Order of

Dismissal With Prejudice dated March 27, 2020 (Dkt. No. 49, the “Final Order”) and the

Stipulation of Settlement dated December 3, 2019 (Dkt. No. 39-1, the “Stipulation”),1 Lead

Plaintiff hereby moves for an order:

           (i)     approving the administrative determinations of the claims administrator, JND

                   Legal Administration (“JND” or “Claims Administrator”), accepting and

                   rejecting claims submitted herein;

           (ii)    barring claims filed after and barring documentation for deficient claims filed

                   after July 15, 2020 on lack of timeliness grounds;

           (iii)   authorizing Proofs of Claim and administration and distribution of the

                   Settlement Fund;

           (iv)    authorizing distribution of the Net Settlement Fund, $9,153,612.32, to

                   Settlement Class Members whose Proofs of Claim have been accepted;

           (v)     authorizing the distribution, no earlier than six (6) months from the date of the

                   Initial Distribution (as that term is defined in the Segura Declaration), any

                   unclaimed, residual balance in the Net Settlement Fund after the Initial

                   Distribution, after paying any amounts mistakenly omitted from the initial

                   disbursement, and after deducting the payment of any estimated taxes, the

                   costs of preparing appropriate tax returns, and any escrow fees, if any, to all

                   Claimants who have cashed their checks from the Initial Distribution and

                   whose proportionate share of the remaining Net Settlement Fund is $10.00 or



1
  Unless otherwise indicated, all capitalized terms herein have the same meanings as set forth in
the Stipulation.
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                     more. Additional distributions, after deduction of costs and expenses as

                     described in this paragraph, and subject to the same conditions, may occur

                     thereafter in 6-month intervals until Lead Counsel, in consultation with JND,

                     determines that further distribution is not cost-effective;

           (vi)      authorizing that thereafter, if any sums remain unclaimed and are not

                     sufficiently large enough to warrant further distribution, the balance be paid to

                     the Institute for Law and Economic Policy;

           (vii)     authorizing payment of outstanding fees and expenses totaling $524,683.04 to

                     JND;

           (viii) ordering that all persons involved in the review, verification, calculation,

                     tabulation, or any other aspect of the processing of the claims submitted

                     herein or otherwise involved in the administration or taxation of the

                     Settlement Fund or the Net Settlement Fund are released and discharged from

                     any and all claims arising out of such involvement, and all Settlement Class

                     Members, whether or not they are to receive payment from the Net Settlement

                     Fund, are barred from making any further claim against the Net Settlement

                     Fund or the released persons beyond the amount allocated to them pursuant to

                     this Court’s order; and

           (ix)      granting such other and further relief as this Court deems appropriate.

       In support of this motion, Plaintiffs submit herewith an accompanying Memorandum of

Law and the Declaration of Luiggy Segura in Support of Lead Plaintiff’s Motion for Approval of

Distribution Plan.




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Dated: November 24, 2020              POMERANTZ LLP

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 24, 2020, a copy of the foregoing was filed

electronically via the Court’s CM/ECF system. Notice of this filing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system.

                                                        /s/ Michael Grunfeld______
                                                            Michael Grunfeld




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